CASE 0:15-md-02666-JNE-DTS Doc. 2-1 Filed 12/14/15 Page 1 of 25
CASE 0:15-md-02666-JNE-DTS Doc. 2-1 Filed 12/14/15 Page 2 of 25
CASE 0:15-md-02666-JNE-DTS Doc. 2-1 Filed 12/14/15 Page 3 of 25
CASE 0:15-md-02666-JNE-DTS Doc. 2-1 Filed 12/14/15 Page 4 of 25
CASE 0:15-md-02666-JNE-DTS Doc. 2-1 Filed 12/14/15 Page 5 of 25
CASE 0:15-md-02666-JNE-DTS Doc. 2-1 Filed 12/14/15 Page 6 of 25
CASE 0:15-md-02666-JNE-DTS Doc. 2-1 Filed 12/14/15 Page 7 of 25
CASE 0:15-md-02666-JNE-DTS Doc. 2-1 Filed 12/14/15 Page 8 of 25
CASE 0:15-md-02666-JNE-DTS Doc. 2-1 Filed 12/14/15 Page 9 of 25
CASE 0:15-md-02666-JNE-DTS Doc. 2-1 Filed 12/14/15 Page 10 of 25
CASE 0:15-md-02666-JNE-DTS Doc. 2-1 Filed 12/14/15 Page 11 of 25
CASE 0:15-md-02666-JNE-DTS Doc. 2-1 Filed 12/14/15 Page 12 of 25
CASE 0:15-md-02666-JNE-DTS Doc. 2-1 Filed 12/14/15 Page 13 of 25
CASE 0:15-md-02666-JNE-DTS Doc. 2-1 Filed 12/14/15 Page 14 of 25
CASE 0:15-md-02666-JNE-DTS Doc. 2-1 Filed 12/14/15 Page 15 of 25
CASE 0:15-md-02666-JNE-DTS Doc. 2-1 Filed 12/14/15 Page 16 of 25
CASE 0:15-md-02666-JNE-DTS Doc. 2-1 Filed 12/14/15 Page 17 of 25
CASE 0:15-md-02666-JNE-DTS Doc. 2-1 Filed 12/14/15 Page 18 of 25
CASE 0:15-md-02666-JNE-DTS Doc. 2-1 Filed 12/14/15 Page 19 of 25
CASE 0:15-md-02666-JNE-DTS Doc. 2-1 Filed 12/14/15 Page 20 of 25
CASE 0:15-md-02666-JNE-DTS Doc. 2-1 Filed 12/14/15 Page 21 of 25
CASE 0:15-md-02666-JNE-DTS Doc. 2-1 Filed 12/14/15 Page 22 of 25
CASE 0:15-md-02666-JNE-DTS Doc. 2-1 Filed 12/14/15 Page 23 of 25
CASE 0:15-md-02666-JNE-DTS Doc. 2-1 Filed 12/14/15 Page 24 of 25
CASE 0:15-md-02666-JNE-DTS Doc. 2-1 Filed 12/14/15 Page 25 of 25
